Case 1:15-CV-OO768-BAH Document 1-1 Filed 05/22/15 Page 1 of 19

IN THE UNITED STATES DISTRICT C()URT
FOR TH'E DISTRICT ()F C()LUMBIA

D()NALD TAPP
10063 Camper Vv’ay S@uth
Largo, Maryland 297'74
Plaintiff,

v. : Case No.
W’ASHINGT()N METROP()LITAN
AREA TRANSIT AUTH()RITY
600 5"1 Strcet, N.`W.
Washington, D.C. 20001

I)efendants.

 

DEFENDANT’S FILING OF PREVI()US
FILlNGS IN STATE COU,RT

D<zi“`endant Washington M€tr<;»p<)}itan Az*ea Transit Auihority (“WMATA”) hereby Submits
the H}ings previously made by Plaintiffin State couri in this acti®n being removed.
l. C<)mplaint.
2. Summons.
3. Initial Order and Add€ndum.
Thes@ documents c@nsti€ute 2111 documenls known to WMATA l‘eiaied ta this case
Respectful}y Submitt€d,

WASHINGTON METROPOL{TAN AREA
TRANSIT AUTHOR§TY

    
     

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Michael K. GuSS #46517}
Associate Gener&l Couns€l

600 Fifth Street, N.W.

W&Shington, D.C. ZOOOI

(202} 962‘1468; (202} 962~°55@ {_f`@.x}
Altomey §0¥ D€i`endant WMATA

Case 1:15-CV-OO768-BAH Document 1-1 Filed 05/22/15 Page 2 of 19

CERTIFICATE OF SER\!ICE

 

l hereby Certify that a copy ofthe foregoing Defendant’$ 1311ng ei`PreviouS Filings in Slate

Court Was eiectr©ni<:ally filed and transmitted this ZZ'”h day 01"` May 2015 to:

Iris MCCGHum Green
Green & Foushee

1730 M Street, N.W.
Suit:e 609

Washington, D.C. 20036

C<)unsel for Plaintiff

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SUPERIOR COURT OF THE DlSTRlCT OF COLUN|B|A
CIVIL DIVISION

 

DONALD TAPP
VS. C.A. No. 2015 CA 003112 B
WASHINGTON METROPOLITAN AREA TRANSIT AUTHORITY

INITIAL ORDER AND ADDENDUM

Pursuant to D.C. Code § 11-906 and District of Columbia Superior Court Rule of Civil Procedure
(“SCR Civ”) 40-1, it is hereby ORDERED as follows:

(l) Effective this date, this case has assigned to the individual calendar designated below. All future filings
in this case shall bear the calendar number and the judge’s name beneath the case number in the caption Gn
filing any motion or paper related thereto, one copy (for the judge) must be delivered to the Clerk along with the

original

(2) Within 60 days of the filing of the complaint, plaintiff must file proof of serving on each defendant
copies of the Summons, the Complaint, and this Initial Order. As to any defendant for Whorn such proof of
service has not been filed, the Complaint will be dismissed without prejudice for want of prosecution unless the
time for serving the defendant has been extended as provided in SCR Civ 4(m).

(3) Within 20 days of service as described above, except as otherwise noted in SCR Civ 12, each defendant
must respond to the Complaint by filing an Answer or other responsive pleading As to the defendant who has
failed to respond, a default and judgment will be entered unless the time to respond has been extended as

provided in SCR Civ 55(a).

(4) At the time and place noted below, all counsel and unrepresented parties shall appear before the
assigned judge at an Initial Sclieduling and Settlement Conference to discuss the possibilities of settlement and
to establish a schedule for the completion of all proceedings, including, normally, either mediation, case
evaluation, or arbitration Counsel shall discuss with their clients p_r_i_o_§ to the conference whether the clients are
agreeable to binding or non-binding arbitration This order is the only notice that parties and counsel will

receive concerning this Conference.

(5) Upon advice that the date noted below is inconvenient for any party or counsel, the Quality Review
Branch (202) 879-1750 may continue the Conference g_nc_e, with the consent of all parties, to either of the two
succeeding Fridays. Request must be made not less than six business days before the scheduling conference date.
No other continuance of the conference will be granted except upon motion for good cause shown

(6) Parties are responsible for obtaining and complying with all requirements of the General Order for Civil
cases, each Judge’s Supplement to the General Order and the General Mediation Order. Copies of these orders
are available in the Courtroom and on the Court’s website http://www.dccourts.gov/.

Chief ludge Lee F. Satterfield

Case Assigned to: Judge JOHN M M©TT
Date: April 29, 2015
lnitial Conference: lO:OO am, Friday, August 21, 2015
Location: Courtroom 517
500 indiana Avenue N.W.
WASHINGTON, DC 20001 CaiO~dOC

 

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ADDENDUM TO INITIAL ORDER AFFECTING
ALL MEDICAL MALPRACTICE CASES

ln accordance with the Medical l\/lalpractice Proceedings Act of 2006, D.C. Code § 16-2801,
et seq. (2007 Winter Supp.), "[a]fter an action is filed in the court against a healthcare provider
alleging medical malpractice, the court shall require the parties to enter into mediation, without
discovery or, if all parties agi‘ee[,] with only limited discovery that will not interfere with the
completion of mediation Within 30 days of the lnitial Scheduling and Settlement Conference
("ISSC"), prior to any further litigation in an effort to reach a settlement agreement The early
mediation schedule shall be included in the Scheduling Order following the lSSC. Unless all
parties agree, the stay of discovery shall not be more than 30 days after the lSSC." D.C. Code § 16-

2821.

To ensure compliance with this legislation, on or before the date of the ISSC, the Court will
notify all attorneys and pro se parties of the date and time of the early mediation session and the
name of the assigned mediator. Information about the early mediation date also is available over
the internet at https://www:dccourts.gov/pa/. To facilitate this process, all counsel and pro Se
parties in every medical malpractice case are required to confer, jointly complete and sign an
EARLY MEDIATION FORM, which must be filed no later than ten (10) calendar days prior to the
ISSC. Two separate Early Mediation Forms are available Both forms may be obtained at
www.dccourts.gov/medmalniediation. One form is to be used for early mediation with a mediator
from the multi-door medical malpractice mediator roster; the second form is to be used for early
mediation with a private mediator. Both forms also are available in the l\/lulti-Door Dispute
Resolution Office, Suite 2900, 410 E Street, N.W. Plaintiffs counsel is responsible for eFiling the
form and is required to e-mail a courtesy copy to earlymedmal@dcsc.gov. Pro se Plaintiffs who
elect not to eFile may file by hand in the Multi-Door Dispute Resolution Office.

A roster of medical malpractice mediators available through the Court's l\/lulti~Door Dispute
Resolution Division, with biographical information about each mediator, can be found at
www.dccourts.gov/medmalmediation/mediatorprofiles. All individuals on the roster are judges or
lawyers with at least 10 years of significant experience in medical malpractice litigation D.C. Code
§ 16-2823(a). If the parties cannot agree on a mediator, the Court will appoint one. D.C. Code §

16-2823 (b).

The following persons are required by statute to attend personally the Early Mediation
Conference: (l) all parties; (2) for parties that are not individuals, a representative with settlement
authority; (3) in cases involving an insurance company, a representative of the company with
settlement authority; and (4) attorneys representing each party with primary responsibility for the
case. D.C. Code§ 16~2824.

No later than ten (10) days after the early mediation session has terminated, Plaintiff must
eFile with the Court a report prepared by the mediator, including a private mediator, regarding: (l)
attendance; (2) whether a settlement was reached; or, (3) if a settlement was not reached, any
agreements to narrow the scope of the dispute, limit discovery, facilitate future settlement, hold
another mediation session, or otherwise reduce the cost and time of trial preparation D.C. Code §
16-2826. Any Plaintiff who is pro se may elect to file the report by hand with the Civil Clerk's
Office. The forms to be used for early mediation reports are available at
www.dccourts.gov/medmalmediation.

Chief Judge Lee F. Satterfield

Caio.doc

Superior Court of the District of Columbia

CIVIL DIVISION

` 500 Indiana Avenue, N.W., Suite 5000
Washington, D.C. 20001 Telephone: (202) 879-1133

 

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Plaintiff
Case m;erGG air i§
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Defendant
SUMMONS

To the above named Defendant:

You are hereby summoned and required to serve an Answer to the attached Complaint, either
personally or through an attorney, within twenty (20) days after service of this summons upon you, exclusive
of the day of service. If you are being sued as an officer or agency of the United States Government or the
District of Columbia Government, you have sixty (60) days after service of this summons to serve your
Answer. A copy of the Answer must be mailed to the attorney for the party plaintiff who is suing you. The
attorney’s name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
to the plaintiff at the address stated on this Summons.

You are al§o_required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
the plaintiff or within five (5) days after you have served the plaintiff If you fail to file an Answer, judgment
by default may be entered against you for the relief demanded in the complaint

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W~S.~Q,!§'§§ 1111 Cr;.éi 1 fares U§`?“fz“y i\l Clerk ofthe'ColiF¢ l
Name of Plaintiff’s Attorney , ; § '

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1250 11114 l 1\11`;§€
Address § 7 M{
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Telephone .
!U§Ei§,i§¥l §§ (202) 879~4828 Veui||ez appeler au (202) 879-4828 pour une traduction

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IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU' ,
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SQ, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
COMPLAINT IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JllDGMENT IF YOll INTEND TO OPPQSE THIS

ACTION, QQMLEAIL_ZQANSWEB_MIHIALIHE_REQ_UIKEQHME

If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202- -682~2700) for help or come to Suite 5000 at 500
Indiaiia Avenue, N. W ,for more information concerning places where you may ask for such help

See reverse side/for Spanish translation
Vea al dorso la traduccion al espanol

FORM SUMMONS - Jan. 201 l CASUM.doc

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RECEIVED
Civil Clcrl<’S ()ffice
SUPERIOR COURT OF THE I)ISTRICT OF COLUMBI APR 2 9 262 `
CIVIL DIVISION -»
Superior Court ot the
District ofColumbia
Washington. D.C.
Donald Tapp k w
10063 Camper Way South § 5 m @ § 3 § § 2
Largo, MD 20774 _ w
Civil Action No.
Plaintiff
v.

Washington Metropolitan Area
Transit Authority (a/k/a ”WMATA”
600 Fifth Street, N. W.

Washington, D. C. 20001

Defendant

Serve: Carol O’Keefe, Esquire
General Counsel’s Office
WMATA
600 Fifth Street, N. W.
Washington, D. C.

VVVVVVVVVVVVVVVVVVVVVV

 

COMPLAINT FOR DEPRIVATI()N OF C()NSTITUTIONAL RIGHTS, WRONGFUL

TERMINATION, BREACH OF CONTRACT, BREACH OF COVENANT OF GO()D

FAITH AND FAIR DEALING, DEFAMATION OF CHARACTER (LIBEL PER SE),

FALSE LIGHT INVASION OF PRIVACY, AND INTENTIONAL INFLICTION OF
EMOTIONAL DISTRESS

INTRODUCTION

This is an action for declaratory relief against the Washington Metropolitan Area

Transit Authority, hereinafter ”WMATA,” for its decision to terminate Plaintiff’s

employment Without affording him the procedural and substantive due process

mandated by the United States Constitution and Without affording him the benefits of

the implied contract as set out in its Employee Handbool<.

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Plaintiff seeks a declaration that the decision to terminate his employment
Without affording him a hearing violates the guarantees of the due process clause of the
Sth Amendment to the United States Constitution.

IURISDICTION AND VENUE

l. jurisdiction of this action is conferred on the Court pursuant to the
Washington Metropolitan Area Transit Regional Compact, Which establishes original
jurisdiction in this Court over WMATA matters pursuant to Wl\/IATRC Article XVl § 81,
codified in District of Columbia law as D. C. Code Ann. § 9-1107.10 and the Fifth
Amendment to the United States Constitution, for denial of due process

2. Venue is properly vested in this Court under 28 U.S.C. § 1391(e) since the

events and omissions giving rise to the claims herein occurred in the District of

Columbia.
PARTIES
3. Plaintiff Donald Tapp, at all times pertinent Was a law abiding citizen, an

employee of Wl\/IATA, and a resident of the State of Maryland.

4. Defendant WMATA Was created when Congress approved the
Washington l\/Ietropolitan Area Transit Authority Compact ('WMATA Compact"), D. C.
Code §§ 9~1107.01 et seq., Which Was signed by the District of Columbia, l\/Iaryland and
Virginia.

5. By the terms of the WMATA Compact that created it, WMATA is liable
for its torts or omissions and those of its Directors, officers, employees and agents

committed in the conduct of any proprietary function D. C. Code § 9~1107.01 (80).
2

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6. Violation of a constitutional right and defamation are both proprietary

functions Within the meaning of the WMATA Compact.
w

7 . Plaintiff Donald Tapp began his employment With WMATA as a bus
operator in 1989. Over a period of years, Plaintiff Tapp advanced in his career by being
promoted to Depot Clerl<, Street Supervisor, Communication Specialist, Bus Training
Instructor, Senior Street Supervisor, Instructor for Street Supervisors, Operations
Supervisor, Assistant Superintendent, Bus Transportation, Superintendent Bus
Transportation, and ultimately Acting Director for Bus Transportation.

8. In 2007, When Metro’s General Superintendent resigned from WMATA
to accept a position With the Metropolitan Area Transit Authority (MATA), Houston,
Te><as (Harris County), she took Plaintiff Tapp With her. Plaintiff Worl<ed for the MATA
of Houston, Texas Transit for a period of two (2) years. Upon resigning his position
With the City of Houston, Plaintiff Tapp returned to WMATA accepting a position as a
Superintendent Bus Transportation, and serving for a limited period as Acting Director
for Bus Transportation. Plaintiff Tapp has Worl<ed for Wl\/IATA for a period of twenty-
five (25) years.

9. On or about ]anuary 2, 2015, Plaintiff Tapp arrived at the Montgomery
Division to Worl< the PM (evening) line, but Was unable to park his vehicle in his
assigned space because another vehicle Was already parked there.

10. Upon entering his office, Plaintiff Tapp inquired as to the owner of the

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vehicle parked in his space and learned that the vehicle belonged to his Office l\/ianager,
Paul Hobbs. Plaintiff Tapp requested Mr. Hobbs to remove his vehicle from his parking
space. Plaintiff also requested l\/lr. Hobbs to come speak with him in his office once he
had moved his vehicle from Plaintiff’s assigned space.

ll. After waiting approximately 15 minutes, Plaintiff Tapp noticed that while
Mr. Hobbs had gone outside of the office, he had not yet removed his vehicle from
Plaintiff’s parking space. After waiting another 15 minutes Plaintiff Tapp went
downstairs and again requested l\/Ir. Hobbs to remove his vehicle from Plaintiff's
parking space and to come to his office once the mission was completed A bus
operator was present during this encounter

12. While Mr. Hobbs did eventually remove his vehicle from Plaintiff Tapp’s
parking space, he failed to report to Plaintiff's office as had been requested

13. After an extended period, l\/Ir. Hobbs finally reported to Plaintiff’s office
where various work related issues of noncompliance were discussed with him. As a
result of this discussion, Mr. Hobbs appeared to become angry and defensive so
Plaintiff Tapp informed him that he was being suspending with pay and directed him
(Hobbs) to meet with him on Monday, january 5, 2-15 at 9:00 a.m.

14. Immediately after suspending Mr. Hobbs with pay, Plaintiff Tapp
telephoned his supervisor, Ted _l-larris to inform him of the incident and requested that
Mr. Hobbs be moved from his Unit. Mr. Harris was unable to listen to the details of the

incident with Mr. Hobbs at that time. Subsequently, on ]anuary 5, 2015, Mr. Harris

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requested a written statement from Plaintiff Tapp. On the following day, Mr. Harris
requested a second written statement from Plaintiff Tapp and requested a meeting for
january 7, 2015.

15. During Plaintiff Tapp's meeting with Mr. Harris on january 7, 2015, he
was placed on immediate suspension

16. ln retaliation for his discipline, Mr. Hobbs told Plaintiff Tap’s supervisor
that he was assaulted during his discussions with Plaintiff Although Mr. Hobbs’
allegation was completely fabricated, Plaintiff Tapp was suspended for a period of
nineteen (19) days obstensively so that an investigation could be conducted on Mr.
Hobb’s allegations Although Plaintiff Tapp was informed that he would be contacted
by an investigator, no such contact was ever made and on the twentieth day of his
suspension; he was terminated from his position.

17. On the date that Plaintiff Tapp was suspended, he was scheduled to meet
with one of his employees [referred to in this complaint as Employee B] who had
recently undergone a drug test which was found to be positive for banned substances

18. ln accordance with WMATA policy, Employee B was counseled and
provided with an EAP packet from the Employee Assistance Office that explains the
consequences of such actions Plaintiff Tapp further informed Employee B that he
would have to contact Human Resources and his immediate supervisor for further
directions with respect to this event. Employee B was also scheduled to meet with

Plaintiff Tapp on january 7, 2015, but was unable to do so as a result of Plaintiff being

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suspended

19. As a result of Plaintiff Tapp’s suspension on january 7, 2015, he unable to
meet with Employee B on january 7, 2015.

20. On the twentieth day after Plaintiff Tapp was suspended, he was
contacted by WMATA'S Office of Equal Employment Opportunity (EEO) where a
number of WMATA officials including the Michelle Chapman of the EEO office tried
without success to force him to resign his position. When the collective efforts to force
Plaintiff Tapp to resign his position were not successful, he was handed a letter of
termination from his position

21. The letter of termination given to Plaintiff Tapp did not contain any
information with respect to his rights to appeal or grieve the termination (termination
letter attached), or his right to a hearing on the matter

22. l\/loreover, the termination letter made no reference to the allegations
made by Mr. l-lobbs. Instead, the termination letter contained a number of unfounded
allegations regarding Plaintiff Tapp's job performance although his performance
exceeded that of several of his fellow Superintendent’s, neither of them were terminated

from their employment.

COUNT I
(Constitutional Violations under the 5“‘ Amendment to the United States
Constitution)

23. The Plaintiff realleges and incorporates by reference paragraphs (one

through twenty-two) as if fully set out herein.

24. Defendant WMATA wrongfully and illegally terminated Plaintiff Tapp’s
6

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employment
25. Defendant WMATA erroneously and illegally and in violation of the 5th
Amendment to the United States Constitution denied Plaintiff Tapp the right to grieve
their decision to terminate his employment
26. Defendant Wl\/IATA erroneously and illegally and in violation of the 5th
Amendment to the United States Constitution denied Plaintiff Tapp the right to a
hearing on their decision to terminate his employment
COUNT ll
(Wrongful Termination in violation of the 5th Amendment to the United States
Constitution)
27 . 'l`he Plaintiff realleges and incorporates by reference paragraphs (one
through twenty~six) as if fully set out herein
28. Plaintiff was wrongfully terminated when he was terminated without
being advised of his right to grieve or appeal the decision to terminate his employment
29. Plaintiff was wrongfully terminated when he was terminated without
being provided a hearing on the decision to terminate his employment

M___.I.I_l
(Breach of Contract)

30. The Plaintiff realleges and incorporates by reference paragraphs (one

through twenty-nine) as if fully set out herein

31. Plaintiff Tapp was a 25 year African American employee of Defendant
WMATA. Defendant WMATA’s Department of Bus Services Employee's Handbook

states, in pertinent part:

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”1.15.6 Discipline is administered in the form of cautions,
reprimands, suspension from duty or dismissal

”1.15.7 states, in pertinent part, WMATA wants to retain you as an
employee Our progressive discipline policy is meant to make you aware
of poor performance and give you sufficient opportunity for correction
"1.15.8 states, in pertinent part, some offenses by nature are more serious
than others and may result in suspension or even dismissal upon the first
offense Willful infractions or the continued necessity to administer
cautions, reprimands or suspensions will lead to dismissal.

"1.15.9 states, in pertinent part, if an employee heeds the warnings and
makes the necessary corrective actions of progressive discipline, dismissal
should not be necessary However, for employees who fail to adhere to
the opportunity to correct and change their behavior through the
progressive discipline dismissal should not be a surprise.”

32. While Plaintiff Tapp was in the process of counseling one of his
subordinate employees, said employee made an allegation that Plaintiff Tapp assaulted
him. As a result, Plaintiff Tapp was placed on suspension so that an investigation could
be conducted However, Defendant failed to conduct the investigation into the
subordinate’s accusations against Plaintiff Tapp since he was never contacted to give his
side of the matter. Rather, after being on suspension for 19 days, Plaintiff was
summoned to the office (WMATA) and summarily fired. Said letter of termination did
not even mention the subordinate’s accusation, but rather contained a number of
allegations to which Plaintiff Tapp was denied the opportunity to offer an inclusive
response

33. Plaintiff Tapp was never accorded the progressive discipline outlined in

Defendant’s handbook l\/loreover, the letter of termination handed to Plaintiff Tapp

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cited poor performance as a substantial reason for his firing. However, of all the
Superintendents, Plaintiff Tapp met four of his six (6) performance targets, which was
exceeded by only one (l) other Superintendent who met five of the performance targets
By contrast, at least two (2) of the Superintendents failed to meet any of their
performance targets,' another met four as did the Plaintiff; one Superintendent met one
performance target, one Superintendent met two (2) performance targets and one
Superintendent met three (3) performance targetsl

34. By failing to adhere to the progressive discipline policy outlined in the
WMATA Employee Handbook which is tantamount to a contract and enforceable by
the courts, see Howa')'d Unir)ersz`ty '1). Best, 484 A.Zd 958, 970 (D.C. 1984), Defendant
WMATA breached their duty as set forth in their Employee Handbook and contract

35. Consequently, Defendant WMATA's breach of their contract with Plaintiff
Tapp caused him to suffer severe damages resulting in the loss of his income ability to
provide for himself and his family, injured his reputation in the community of his co-

workers, and caused him to suffer a loss of self esteem.

COUNT IV
(Breach of Covenant of Good Faith and Fair Dealing)
36. The Plaintiff realleges and incorporates by reference paragraphs (one
through thirty-five) as if fully set out herein.
37. ln terminating Plaintiff Tapp without affording him the rights set out in

their Employee Handbook, Defendant WMATA evaded the spirit of the contract and

denied Plaintiff the opportunity to perform in accordance with the contract as well.
9

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COUNT V
(Defamation of Character)
Libel Per Se

38. The Plaintiff realleges and incorporates by reference paragraphs (one
through twenty-seven) as if fully set out herein.

39. A short time after being placed on suspension, Plaintiff Tapp learned that
the l\/Ietro Transit Police Criminal lnvestigative Division published a flyer with his
photograph and employee number beneath a bold heading entitled BOLO, which
stands for ” Be On The Lookout.” The following wording is printed directly beneath
the photo:

”The above pictured employee is NOT allowed on any WMATA property. lf
seen at a WMATA facility, please contact MTPD (Metro Transit Police Division).

This WMATA Criminal Division flyer was published throughout WMATA and
in all of the metro stations that it operates not only to Plaintiff's community of
colleagues, co-workers, and WMATA employees, but to his friends, acquaintances,
visitors to WMATA facilities, as well as strangers.

40. This flyer depicts Plaintiff Tapp as a common criminal and implies that he
has committed a crime, which prompted many of his colleagues, co-workers, associates
and friends to view him as such and tended to injure him and his reputation in his
trade, profession and community standing

41. This flyer caused injury to Plaintiff Tapp in his trade profession, in his
employment, and his enjoyment of life

42. The flyer is misleading, disparaging and defamatory and caused Plaintiff
10

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Tapp to suffer loss of reputation, embarrassment and personal humiliation
43. The false and defamatory flyer published by Defendant WMATA held
Plaintiff Tapp up to contempt and disgrace and caused him to be shunned and avoided

by the community as well as the community of his co-workers.

COUNT IV
(False Light/Invasion of Privacy)

44. The Plaintiff realleges and incorporates by reference paragraphs (one
through forty-three) as if fully set out herein.

45. Defendant issued the false and libelous flyer that implied that Plaintiff
Tapp had committed a crime

46. The libelous flyer of and concerning Plaintiff Tapp was published to the
community of his co-workers and friends, as well as the metro riding public and injured
his reputation in the community of his co-workers, friends as well as strangers

47. The libelous flyer which was published to the community of Plaintiff
Tapp’s co-workers and friends, as well as the metro riding public, also contained his
photograph

48. The libelous flyer published by the defendant in its workplace and the
metro stations which it operates placed Plaintiff Tapp in a false light and made people

believe that he was a criminal

Y_QNH
(Intentional Infliction of Emotional Distress)

49. The Plaintiff realleges and incorporates by reference paragraphs (one

through forty-eight) as if fully set out herein
ll

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50. Defendants issued the libelous flyer on or about February 3, 2015, which
falsely depicts Plaintiff as a criminal and implies that he has committed a crime

51. Defendant acted with malice in publishing through its Metro Transit
Police Criminal lnvestigation Division the false and libelous flyer asking the general
public as Well as its employees to ”Be On The Lookout" (BOLO) for Plaintiff implying
that he had committed a crime

52, The acts of Defendant as alleged herein were done with the intent to cause
severe emotional distress to Plaintiff Tapp. At no time did Defendant retract their false
and libelous publication against Plaintiff Tapp.

53. The Defendant’s false misleading and libelous publication put Plaintiff
Tapp in fear and caused him garden variety emotional distress

54. Defendant’s acts were outrageous extreme and intentional and caused
Plaintiff Tapp to suffer severe emotional distress

WHEREFORE, Plaintiff demands judgment against Defendant WMATA in the
amount of Five Hundred Thousand Dollars ($500,000.00) for each count of the complaint
and punitive damages in the amount of One Hundred Fifty Thousand ($150,0()0.(]0) plus
interest thereon, his costs, and attorney fees

Respectfully submitted,

GREEN & FOUSHEE

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/ s/ lris l\/chollum Green
lRlS l\/lcCOLLUl\/l GREEN, ESQ.
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PLAlNTlFF DEMANDS A TRIAL BY jURY.

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" . _ CR:MINAL mvz¢:srlcix'ru)~ Division "
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